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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND

TIFFANY JOHNSON,                                        *

             On behalf of herself individually          *
             and similarly situated persons,
                                                        *
             Plaintiff,
    v.                                                          Civil Action No. 8:22-cv-02001-PX
                                                        *

    CONTINENTAL FINANCE COMPANY,
                                                        *
    LLC, et. al.,
                                                        *
             Defendants.

         *          *        *       *      *      *        *      *      *      *      *      *

                           ANSWER AND AFFIRMATIVE DEFENSES
                  TO PLAINTIFF’S FIRST AMENDED CLASS ACTION COMPLAINT

             Defendants Continental Finance Company, LLC and Continental Purchasing, LLC

(collectively “Defendants”), by its undersigned counsel and pursuant to Rules 8 and 12 of the

Federal Rules of Civil Procedure, hereby submit their Answer and Affirmative Defenses to the

First Amended Class Action Complaint filed by Plaintiff Tiffany Johnson (“Plaintiff”) as follows:

                                         NATURE OF THE ACTION1

             1.         Plaintiff, Tiffany Johnson, brings this action to challenge abusive and unlawful

high-interest consumer loan origination and collection practices.

             ANSWER: Defendants deny the allegations in Paragraph 1.




1
  Defendants use certain subject headings from Plaintiff’s First Amended Class Action Complaint
strictly for ease of reference by the Court and the parties and, by using those headings, does not
intend to admit the truth of any allegation contained within them. To the extent that any of the
subject headings in Plaintiffs’ Complaint may be construed to contain factual allegations directed
to Defendants, Defendants expressly deny all such allegations.
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       2.       The affiliated Defendants Continental Finance Company, LLC (“CFC”) and its

wholly owned subsidiary Continental Purchasing, LLC (“CP”) (CFC and CP are collectively,

“Continental”) are predatory high-interest small-loan lenders, who originate credit by marketing,

making, servicing, and collecting on consumer credit card loans in violation of Maryland law.

       ANSWER: Defendants deny the allegations in Paragraph 2.

       3.       Continental regularly offers and extends consumer credit to Marylanders including

Plaintiff Johnson. Although Continental is domiciled outside of Maryland, the applications for the

loans for the Maryland-resident Plaintiff and Class Members originated in Maryland and Plaintiff

and Class Members accepted and used the credit cards associated with the loans in Maryland.

       ANSWER: Defendants deny the allegations in Paragraph 3.

       4.       Continental attempted to evade Maryland law by arranging for a third-party

financial institution to issue the credit cards for Plaintiff and others, even though Continental

marketed the loan accounts, underwrote the loan accounts, collected all payments on the loan

accounts, and always bore all of the risk of the credit transactions — but Maryland’s Legislature

and Court of Appeals have seen through and prohibited such schemes.

       ANSWER: Defendants deny the allegations in Paragraph 4.

       5.       In particular, Maryland law requires persons who arrange and collect on loans, like

Continental, to be licensed.

       ANSWER: Defendants deny the allegations in Paragraph 5.

       6.       This is no secret. In Cash Call, Inc. v. Maryland Com’r of Fin. Regulation, 448 Md.

412, 439 (2016) (“CashCall”), the Maryland Court of Appeals confirmed that the longstanding

terms of the Maryland Credit Services Businesses Act, Md. Code Ann., Com. Law §§ 14-1901 et

seq. (the “MCSBA”) apply to persons utilizing a scheme like Continental. CashCall addressed a



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lending setup virtually identical to Continental’s and explained why Maryland law required a loan

broker like Continental to be licensed. CashCall also held that a person arranging and then

collecting on loans, like Continental has done here, is the de facto lender in the transaction.

       ANSWER: Defendants only admit that the CashCall opinion is a document that

speaks for itself. Defendants deny any allegations that are inconsistent with or

mischaracterize this document. Defendants deny the remaining allegations in Paragraph 6.

       7.       As a result, at least two Maryland statutes require Continental to be licensed — the

Maryland Credit Services Businesses Act, Md. Code Ann., Com. Law §§ 14-1901 et seq. (the

“MCSBA”) and the Maryland Consumer Loan Law, Md. Code Ann., Com. Law §§ 12-301 et seq.

(the “MCLL”).

       ANSWER: Defendants admit only that the referenced statutes speak for themselves.

Defendants deny any allegations that are inconsistent with or mischaracterize the statutes.

Defendants deny the remaining allegations in Paragraph 7.

       8.       The MCSBA regulates all “credit services businesses” who, like Continental, are

paid for arranging extensions of credit by others. See MCSBA § 14-1901; see also CashCall. In

Plaintiff and Class Members’ transactions, Continental, with respect to an extension of credit by a

third-party financial institution, provided, performed, or represented that it could or would sell,

provide, or perform, the service of obtaining an extension of credit for the consumer Plaintiff and

Class Members.

       ANSWER: Defendants deny that Defendants extend credit. Defendants admit only

that the referenced statutes speak for themselves. Defendants deny any allegations that are

inconsistent with or mischaracterize the statutes. Defendants deny the remaining allegations

in Paragraph 8.



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       9.       Continental offered or agreed to sell, provide, or perform services to Plaintiff and

Class Members, who are all residents of this State. In addition, Continental makes written

solicitations or communications that are received in Maryland, by Maryland residents.

Accordingly, the MCSBA requires Continental, like all credit services businesses providing

services to Marylanders, to be licensed. See MCSBA § 14-1903.

       ANSWER: Defendants deny the allegations in Paragraph 9.

       10.      Continental does not have the license prescribed by, and required by, the MC SBA.

       ANSWER: Defendants deny the allegations in Paragraph 10.

       11.      Because Continental arranged loans for Plaintiff and Class Members without a

license, under purported contracts with Plaintiff and Class Members which did not contain the

disclosures and terms required by the MCSBA, the contracts are void and unenforceable as

contrary to the public policy of Maryland. See, e.g., MCSBA § 14-1907.

       ANSWER: Defendants deny the allegations in Paragraph 11.

       12.      That is not all. Continental was the de facto lender in Plaintiff and Class Members’

transactions, all of which are subject to the MCLL — and so Continental was also required to be

licensed under the MCLL. It was not. As a result, the loans to Plaintiff and Class Members are

void and unenforceable, and Continental cannot receive or retain any payments on those loans.

       ANSWER: Defendants deny the allegations in Paragraph 12.

       13.      In particular, Continental received, through contracts with the third-party financial

institutions extending the credit to Plaintiff and Class Members, the exclusive right to collect all

payments of principal, interest and fees from Plaintiff and Class Members, including setup and

maintenance fees which were assessed before Plaintiff and Class Members used their credit cards.

As a result, Continental was the de facto lender in Plaintiff and Class Members’ transactions. See



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Cash Call, 448 Md. at 436 (where a credit services business “received, through contracts with the

banks, the exclusive right to collect all payments of principal, interest and fees, including the

origination fee... [t]his arrangement, in essence, rendered CashCall [the credit services business]

the de facto lender.”). Continental extended credit to Plaintiff and each Class Member and made

the loans to Plaintiff and each Class Member.

       ANSWER: Defendants deny the allegations in Paragraph 13.

       14.       The MCLL regulates all loans under $25,000 that do not qualify for the limited

exceptions to the application of the statute. See MCLL § 12-303. All of Continental’s loans to

Plaintiff and Class Members were for less than $25,000 and none of the loans to Plaintiff and Class

Members qualify for any of the limited exceptions to the application of the MCLL.

       ANSWER: Defendants deny that Defendants extend credit. Defendants admit only

that the referenced statutes speak for themselves. Defendants deny any allegations that are

inconsistent with or mischaracterize the statutes. Defendants deny the remaining allegations

in Paragraph 14.

       15.       Continental has made numerous loans to Maryland residents, loans which are

regulated by the MCLL, in each of the last three years and for many years prior to that. It is engaged

in the business of making loans regulated by the MCLL.

       ANSWER: Defendants deny the allegations in Paragraph 15.

       16.       The MCLL prohibits making loans within its auspices without a license. See MCLL

§ 12-314(a) (“A person may not lend $25,000 or less if ... [t]he person is not licensed under or

exempt from the licensing requirements under the Maryland Consumer Loan Law-Licensing

Provisions.”).




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       ANSWER: Defendants admit only that the referenced statute speaks for itself.

Defendants deny any allegations that are inconsistent with or mischaracterize the statute.

       17.     Because Continental made loans subject to the MCLL to Plaintiff and Class

Members without a license, those loans are “void and unenforceable.” See MCLL § 12-314(b) (“A

loan made in the amount of $25,000 or less, regardless of whether the loan is or purports to be

made under this subtitle, is void and unenforceable if... [a] person who is not licensed under or

exempt from the licensing requirements under Title 11, Subtitle 2 of the Financial Institutions

Article made the loan.”).

       ANSWER: Defendants deny the allegations in Paragraph 17.

       18.     And Continental may not “receive or retain” any amounts from Plaintiff or Class

Members in connection with its void and unenforceable loans to them. See MCLL § 12-314(b)(2)

(“A person may not receive or retain any principal, interest, fees, or other compensation with

respect to any loan that is void and unenforceable under this subsection.”).

       ANSWER: Defendants deny the allegations in Paragraph 18.

       19.     Accordingly, Maryland law prohibits Continental from collecting any amounts on

its loans to Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 19.

       20.     Nevertheless, Continental unlawfully collected and retained money from Plaintiff

and Class Members on their loan accounts, in violation of Maryland law.

       ANSWER: Defendants deny the allegations in Paragraph 20.

       21.     Maryland’s Legislature has imposed harsh consequences for non-bank lenders —

like Continental — who partner with a bank or other federally insured third-party financial

institution in order to avoid state interest-rate caps, but do not comply with other applicable



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Maryland laws. The Maryland Court of Appeals has characterized similar arrangements as “rent-

a-bank” schemes. See CashCall, 448 Md. at 420 (2016).

       ANSWER: Defendants admit only that the referenced Maryland laws speak for

themselves. Defendants deny any allegations that are inconsistent with or mischaracterize

the laws. Defendants deny the remaining allegations in Paragraph 21.

       22.     Yet Continental repeatedly flouted and disregarded applicable Maryland law and

arranged and collected on consumer loans from Plaintiff and each Class Member in return for

substantial compensation, without a Maryland license, frustrating the protections enacted by the

General Assembly, evading regulatory oversight, damaging Plaintiff and Class Members, and

obtaining an unfair advantage over its licensed and regulated competitors in the process.

       ANSWER: Defendants deny the allegations in Paragraph 22.

       23.     As a result of the facts alleged in this Complaint, Plaintiff and each Class Member

are entitled to a declaration that Maryland law requires Continental to be licensed, that the contracts

for Continental’s services are void and unenforceable, that the Plaintiff and Class Members’

Continental loan accounts are void and unenforceable, and that Continental was never entitled to

collect any amounts from Class Representative and Class Members, under Maryland’s Declaratory

Judgment Act, Md. Code Ann., Cts. & Jud. Pro. §§ 3-401 et seq.

       ANSWER: Defendants deny the allegations in Paragraph 23.

       24.     In addition, Continental must return all payments made to it by Plaintiff and Class

Members within the past twelve years, under the MCLL.

       ANSWER: Defendants deny the allegations in Paragraph 24.




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       25.       Because Defendants’ activities were form-driven and violate the law in materially

uniform ways in the transactions of the Plaintiff and the numerous others, this lawsuit is well-

suited for class action treatment.

       ANSWER: Defendants deny the allegations in Paragraph 25.

       26.       Accordingly, Plaintiff requests certification of the following Class:

       a.      All Maryland residents who obtained loans in the amount of $25,000 or less,
where the loan application originated in Maryland and where Continental received, through
agreements with a third-party financial institution, the exclusive right to collect all
payments of principal, interest and fees on the loan.

       ANSWER: Defendants deny that the Class referenced in Paragraph 26 may be

certified.

       27.       Excluded from the Class are all employees or representatives of Continental, all

Court personnel, and all persons where the loan at issue was originated more than 12 years ago

and no payments have been made on the account within the last 12 years.

       ANSWER: Defendants deny that the Class referenced in Paragraph 27 may be

certified.

                                               Parties

       28.       Plaintiff is a natural person who is a resident and citizen of the State of Maryland,

and who was a resident of the State of Maryland and within the state of Maryland at the time she

entered into any agreement with Continental.

       ANSWER: Defendants lack sufficient knowledge or information to form a belief as

to the truth of the allegations set forth in Paragraph 28 and therefore deny those allegations.

       29.       Continental Finance Company, LLC is a privately-held subprime credit card loan

originator, marketer, and servicer. It is a limited liability company organized in Delaware, with its




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principal place of business in Delaware. CFC markets, underwrites and services credit card

accounts in Maryland and elsewhere in the United States.

        ANSWER: Defendants deny that CFC is a subprime credit card loan originator,

marketer, and servicer. Defendants admit that CFC is organized in Delaware, with its

principal place of business in Delaware. Defendants admit that CFC, on behalf of, and under

the supervision of the issuing bank, markets and services credit card accounts in Maryland

and elsewhere in the United States.

        30.     Continental Purchasing, LLC is a wholly-owned subsidiary of Continental Finance

Company, LLC. Under receivables purchase agreements, Continental Purchasing, LLC agreed in

advance of the origination of Plaintiff’s and Class Members’ accounts to purchase all of the rights,

title, and interest in the receivables of Plaintiff’s and Class Members’ accounts promptly after

origination, and did so.

        ANSWER: Defendants deny the allegations in Paragraph 30.

                                       Jurisdiction and Venue

        31.     Continental removed this lawsuit from the Circuit Court for Montgomery County

to this Court asserting that federal jurisdiction exists over this lawsuit, and that venue is appropriate

in this Court. See ECF # 1.

        ANSWER: Defendants admit that the U.S. District Court of Maryland has subject

matter jurisdiction and personal jurisdiction over this matter for the reasons addressed in

Defendants’ Notice of Removal, ECF. No. 1. Defendants deny the remaining allegations in

Paragraph 31.




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                          Factual Allegations for Individual and Class Relief

                                        Continental’s Business

        32.     Continental marketed, originated, serviced, and collected on Plaintiff and Class

Members’ credit card loan products, and extended credit to Plaintiff and Class Members, all in

exchange for compensation, but Continental has no license to do so under Maryland law.

        ANSWER: Defendants deny the allegations in Paragraph 32.

        33.     Continental is a small-loan lender. Credit limits on its accounts are all less than

$6,000. Continental targets subprime customers and engages in predatory lending designed to lure

borrowers with low credit ratings to enter into illegal loan agreements with onerous terms.

        ANSWER: Defendants deny the allegations in Paragraph 33.

        34.     Continental’s business operations described in this Complaint violate Maryland

law. Continental has an experienced compliance and legal department, which knows that

Continental’s credit business is in violation of Maryland law. Continental has employed specific

strategies to thwart enforcement of Maryland law on its operations, including the sham “rent-a-

bank” scheme described in this Complaint which Continental created and operates in order to

provide Continental with the pretense that a federally-insured bank or financial institution is

involved in its lending operations and that Continental can use the federally-insured institution to

evade Maryland lending laws and profit from doing so.

        ANSWER: Defendants deny the allegations in Paragraph 34.

           Continental Advertises Its Credit Cards as Tools to Improve Credit Ratings

        35.     Continental targets its advertising to encourage consumer borrowers who are trying

to rebuild their credit to obtain a Continental credit card in order to improve their credit records,

histories, and ratings.

        ANSWER: Defendants deny the allegations in Paragraph 35.

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          36.    Continental marketed its credit cards to Plaintiff Johnson and Class Members using

a variety of means, including direct mail, e-mail, marketing through affiliates, and the Internet.

          ANSWER: Defendants deny the allegations in Paragraph 36.

          37.    Continental advertises that “we understand how to help people improve their credit

score by giving them an opportunity when other companies won’t.”

          ANSWER:       Defendants admit only that CFC’s marketing speaks for itself.

Defendants deny all allegations that are inconsistent with or mischaracterize CFC’s

marketing.

          38.    Continental’s marketing includes a blog called the “Continental Finance Blog”

which advertises that it is providing advice on “HOW TO BUILD AND MAINTAIN GOOD

CREDIT.”

          ANSWER: Defendants admit only that the language on CFC’s marketing speaks for

itself. Defendants deny all other allegations that are inconsistent with or mischaracterize

this language.

          39.    Continental advertises that it is the “company mission to help cardholders

everywhere rebuild and restore their credit.”

          ANSWER: Defendants admit only that the language on CFC’s website speaks for

itself. Defendants deny all other allegations that are inconsistent with or mischaracterize

this language.

          40.    Continental advertises that it provides advice and assistance on “how to boost your

credit score fast” including “how to increase credit score,” “how quickly you can improve your

credit score,” “tips on how to raise credit score in 30 days” and “best ways to boost your credit

score.”



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       ANSWER: Defendants admit only that the language on CFC’s blog and on its website

speaks for itself.    Defendants deny all other allegations that are inconsistent with or

mischaracterize this language.

       41.     Continental advertises that “If you have less than perfect credit, a CFC brand card

can help you re-establish your credit history!”

       ANSWER:         Defendants admit only that CFC’s marketing speaks for itself.

Defendants deny all allegations that are inconsistent with or mischaracterize this language.

       42.     Continental advertises that “Continental Finance is one of the leading providers of

credit cards for people with less-than-perfect credit. They can help you get closer to qualifying for

a rewards card over time. This blog and other educational resources will help you qualify for a

card and then use the card responsibly to help mend your credit.”

       ANSWER: Defendants admit only that the language on CFC’s website and its blog

speaks for itself.    Defendants deny all other allegations that are inconsistent with or

mischaracterize this language.

       43.     Continental advertises that “Continental Finance cards” provide “Credit-building

features” and further advertises that:

       One of the best credit-building features that all Continental Finance cards provide
       is:

       Regular and frequent account reviews for credit limit increases. Simply make your
       first six required monthly minimum payments on-time and you’ll be eligible for an
       automatic review for a credit limit increase.

       Beyond Credit Limit Increases, the card has more features to assist with building
       credit, including:

       Monthly reporting to the three major credit bureaus.

       There is also a $0 Fraud liability feature to help protect you from fraudulent charges
       and keep your credit history positive.


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       The 24/7 online customer platform gives you custom alerts to help you keep up
       with payments, avoid late fees and ensure your credit building efforts stay on track.

       You’ll also get free online access to your credit score each month by signing up for
       e-statements in the customer platform.

       ANSWER: Defendants admit only that the language on CFC’s blog and its website

speaks for itself.      Defendants deny all allegations that are inconsistent with or

mischaracterize this language.

       44.     Continental advertises that it offers access to credit to consumers, including

consumers in Maryland.

       ANSWER: Defendants admit that CFC markets and services credit cards on behalf

of, and with the approval of, the issuing bank. Defendants deny any remaining allegations

set forth in Paragraph 44.

       45.     Continental advertises that it is a “financing solution” for consumers who do not

meet the criteria for “prime” credit. It advertises that it is a “Leading Provider of Non-Prime

Consumer Financial Solutions.” It advertises that “[w]e specialize in servicing ‘second-look

financing’ for consumers who are turned down by a prime lender, yet are just slightly below the

prime threshold, and by servicing direct-to-consumer credit cards for consumers who are

establishing or rebuilding their credit.”

       ANSWER: Defendants deny the allegations in Paragraph 45.

       46.     Continental advertises that it “is the largest provider in the near-prime financial

services space, having originated $6 Billion in assets to date and processing 12 Million applications

annually. Our Private Label Credit Card (PLCC) business has achieved over $2.6 Billion in

originations and has experienced over 40% growth since 2018.”

       ANSWER: Defendants deny the allegations in Paragraph 46.



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       47.     Continental advertises that its services help consumers to “rebuild” credit. It

advertises that its products give consumers the “opportunity to build and access credit.”

       ANSWER: Defendants deny the allegations in Paragraph 47.

       48.     Continental advertises that “[w]e specialize in providing credit cards that help our

customers build or establish credit with dignity and respect. If you have less than perfect credit, a

CFC brand card can help you re-establish your credit history!”

       ANSWER: Defendants deny the allegations in Paragraph 48.

       49.     Continental advertises that “With our help, non-prime consumers can buy quality

products and services without depleting their savings account.”

       ANSWER: Defendants deny the allegations in Paragraph 49.

       50.     Continental advertises that it “provide [s] accounts to consumers when primary

lenders cannot.”

       ANSWER: Defendants deny the allegations in Paragraph 50.

       51.     Continental advertises that it “provid[es] non-prime consumers a second chance to

access quality financing solutions and direct-to-consumer credit cards.”

       ANSWER: Defendants deny the allegations in Paragraph 51.

       52.     Continental advertises that “[w] e pride ourselves on offering the same credit

experience to non-prime customers that prime customers receive.”

       ANSWER: Defendants deny the allegations in Paragraph 52.

 Continental Uses A Rent-A-Bank Scheme to Obtain Credit for Plaintiff and Class Members

       53.     Continental developed a credit origination engine that, for Continental, ensures

profits and eliminates risks. Drawing upon expertise in credit data analysis, mass marketing and

debt collection, Continental built a specialized business model which enables it to prosper by

purportedly “serving” — but in fact victimizing — poor and disadvantaged consumers.
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Continental’s business is to extend small credit card loans with high fees and interest rates to

borrowers with low credit ratings by using third-party financial institutions, with the promise to

the borrowers that these loans will improve the borrowers’ credit ratings. In fact, Continental’s

lending practices place these vulnerable consumers into more debt and aggravate the consumers’

credit problems by increasing their indebtedness and imposing illegal lending terms.

       ANSWER: Defendants deny the allegations in Paragraph 53.

       54.     In order to conceal the unlawful nature of extensions of credit, Continental

partnered with third-party financial institutions, which are in some cases exempt from many

Maryland lending laws, as part of a “rent-a-bank” scheme.

       ANSWER: Defendants deny the allegations in Paragraph 54.

       55.     To effectuate this scheme, Continental agreed with the third-party financial

institutions in agreements including “Program Agreements,” that Continental would market credit

cards to, and solicit credit card applications from, consumers like Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 55.

       56.     Under the contracts between Continental and its third-party financial institution

partners, including the Program Agreements, Continental is the true lender in the transactions of

Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 56.

       57.     For example, Continental agreed in advance with its third-party financial institution

partners that Continental would perform the marketing for the credit card accounts of Plaintiff and

Class Members. Under Continental’s agreements with its third-party financial institution partners,

Continental marketed via direct mail, and through various modes of internet marketing.

Continental prepared the product offerings and associated marketing materials, developed and



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placed electronic and print advertising, designed and developed websites, and delivered all notices

and disclosures to Plaintiff and Class Members. Continental alone was responsible for all costs

and expenses associated with advertising and developing promotional materials in connection with

the loans to Plaintiff and Class Members.

       ANSWER: Defendants admit only the allegations in Paragraph 57, except that all

advertising and development of promotional materials was performed under the oversight

and approval of the issuing bank, the expenses for which are sustained by the issuing bank.

Defendants deny the remaining allegations in Paragraph 57.

       58.     Continental also agreed in advance with its third-party financial institution partners

that Continental would provide the analytics, software, and underwriting models to underwrite the

loans resulting from its marketing efforts, and that Continental would perform the underwriting

for the credit card accounts resulting from its marketing efforts. Continental developed its own

credit models for underwriting, based on data concerning prior Continental customers. As part of

Continental’s underwriting, it considered the risk of customers missing payments, the likelihood

that a borrower would use a Continental credit card for a cash advance instead of a purchase, the

borrower’s history with other Continental credit cards, and other factors. Continental underwrote

the loans of Plaintiff and Class Members. Continental alone was responsible for all costs and

expenses associated with underwriting the loans to Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 58.

       59.     Continental provided the loan application for Plaintiff and each Class Member.

Continental processed all loan applications from Plaintiff and each Class Member to determine

whether the Plaintiff and each Class Member met eligibility criteria for the extension of credit,

responded to all inquiries regarding the credit origination and application process, delivered all



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documents to Plaintiff and Class Members in the course of the credit origination and application

process, and maintained all documents pertaining to the loans to Plaintiff and each Class Member.

       ANSWER: Defendants admit that, on behalf of, and with the prior approval of the

issuing bank, CFC provided Plaintiff the loan application, processed the loan application,

responded to inquiries regarding the application process, delivered all documents to Plaintiff

in the course of the application process, and maintained all documents pertaining to the loans

to Plaintiff. Defendants deny that they determined whether Plaintiff met eligibility criteria

for the extension of credit. Defendants deny the remaining allegations in Paragraph 59.

       60.     Continental, in Plaintiff and each Class Member’s transaction, also conducted

credit risk assessment and loan underwriting.

       ANSWER: Defendants deny the allegations in Paragraph 60.

       61.     Continental determined that Plaintiff and each Class Member satisfied the criteria

required for an extension of credit and determined the amount of each extension of credit.

       ANSWER: Defendants deny the allegations in Paragraph 61.

       62.     Continental evaluated and approved the credit application for Plaintiff and each

Class Member.

       ANSWER: Defendants deny the allegations in Paragraph 62.

       63.     Continental determined the amount of credit to be extended to Plaintiff and each

Class Member.

       ANSWER: Defendants deny the allegations in Paragraph 63.

       64.     Continental approved the extension of credit to Plaintiff and each Class Member.

       ANSWER: Defendants deny the allegations in Paragraph 64.




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        65.     Continental drafted and provided the credit account agreements for Plaintiff and

each Class Member. Continental’s form adhesion loan “agreement” documents included language

stating that the terms of the agreement could be changed at any time, without any notice, and with

retroactive effect.

        ANSWER: Defendants admit only that CFC provided the issuing bank’s credit

account agreements to Plaintiff on behalf of the issuing bank, and that each applicable

agreement speaks for itself. Defendants deny all allegations that are inconsistent with or

mischaracterize any agreement. Defendants deny the remaining allegations in Paragraph 65.

        66.     Although Continental is the true lender in the transactions of Plaintiff and Class

Members, Continental does not issue the credit cards it advertises. Instead, Continental represented

to Plaintiff and each Class Member that the credit account would be issued, and credit initially

extended, by a third-party financial institution. Those accounts were issued under Continental’s

oversight and Continental’s contracts with its third-party financial institution partners, at

Continental’s request, in the amount requested by Continental.

        ANSWER: Defendants deny the allegations in Paragraph 66.

        67.     Under Continental’s advance agreements with its third-party financial institution

partners, Continental promptly after account issuance purchases the right to fund the credit and

collect all payments on the credit card accounts it arranged for Plaintiff and each Class Member.

        ANSWER: Defendants deny the allegations in Paragraph 67.

        68.     Continental promptly purchased Plaintiff’s and each Class Member’s credit

account receivables from its third-party financial institution partner, and thereafter extended all

credit and collected all payments on Plaintiff’s and Class Members’ accounts unless and until the

accounts were charged-off and sold to one of Continental’s debt buyers. Continental directed



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Plaintiff and each Class Member to make payments to Continental, not Continental’s third-party

financial institution partner.

        ANSWER: Defendants admit only that Defendant CP purchased the receivables

associated with the Plaintiff’s credit card account from the issuing bank. Defendants deny

the remaining allegations in Paragraph 68.

        69.     Continental arranged with its third-party financial institution partners, in advance

of originating the credit accounts for Plaintiff and Class Members, that Continental would

advertise and market for the credit accounts, that it would handle all of the work necessary to

originate the credit accounts, would service the credit accounts after origination, and that it would

be entitled to collect and receive all payments made on the credit accounts, despite the fact that the

credit accounts were issued by Continental’s third-party financial institution partner.

        ANSWER: Defendants admit only that Defendant CFC arranged with the issuing

bank to advertise, market, and service credit accounts on behalf of, and under the oversight

of the issuing bank, and that Defendant CFC is entitled to collect and receive payments made

on the credit accounts on behalf of the issuing bank. Defendants deny the remaining

allegations in Paragraph 69.

        70.     Continental managed all the operations relating to the submission of credit

applications by Plaintiff and each Class Member and the extension of credit to Plaintiff and each

Class Member, in exchange for a fee.

        ANSWER: Defendants deny the allegations in Paragraph 70.

        71.     Continental had agreed, in advance, to collect all payments, interest and fees due

on the credit accounts of Plaintiff and each Class Member.




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       ANSWER: Defendants admit the allegations in paragraph 71, provided that any such

services are performed on behalf of, and under the oversight of, the issuing bank.

       72.     Continental, not its third-party financial institution partners, collected all sums —

including fees — from Plaintiff and each Class Member. Continental also charged interest to

Plaintiff and each Class Member, and collected interest from Plaintiff and each Class Member

       ANSWER: Defendants admit only that any services performed by Defendant CFC

on behalf of the issuing bank, and any fees charged to Plaintiff by the issuing bank are in

accordance with the issuing bank’s credit account agreement with the Plaintiff. Defendants

deny the remaining allegations in Paragraph 72.

       73.     Continental serviced and administered each loan to Plaintiff and each Class

Member. This servicing and administration included issuing statements, payment processing,

collections customers service, refunds and adjustments, customer disputes, and other services.

       ANSWER: Defendants admit the allegations set forth in Paragraph 73.

       74.     Continental undertook to recover and collect the maximum payment of interest and

principal possible from Plaintiff and Class Members, for its own benefit.

       ANSWER: Defendants deny the allegations in Paragraph 74.

       75.     Plaintiff and Class Members made all payments on the credit accounts originated

by Continental to Continental, unless and until their loans were “charged off” and sold at a discount

to a debt-buyer debt collector.

       ANSWER: Defendants deny the allegations in Paragraph 75.

       76.     The only contact Plaintiff and Class Members had with Continental’s third-party

financial institution partners in connection with their credit accounts through Continental was the

partner’s name on the credit agreement.



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       ANSWER: Defendants lack sufficient knowledge or information to form a belief as

to the truth of the allegations set forth in Paragraph 76 and therefore deny those allegations.

       77.     In exchange for Continental’s role in assisting Plaintiff and Class Members to

obtain credit accounts, Continental received, through its contracts with its third-party financial

institution partners, the exclusive right to collect all payments of principal, interest and fees, from

Plaintiff and each Class Member. This arrangement rendered Continental the de facto lender; the

true lender. Continental’s reason for existence was to profit by purportedly providing advice and

assistance to consumers, including Plaintiff and Class Members, in obtaining loans nominally from

a third-party financial institution, so that Continental would receive, in reciprocation, the legal

right to receive payments from Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 77.

       78.     This arrangement has been a lucrative business for Continental.

       ANSWER: Defendants deny the allegations in Paragraph 78.

       79.     Continental provided Plaintiff and each Class Member with advice or assistance in

the obtention of an extension of credit by others, and was compensated for doing so by collecting

money including fees directly from Plaintiff and each Class Member.

       ANSWER: Defendants deny the allegations in Paragraph 79.

       80.     Not only did Continental broker the Plaintiff’s and Class Members’ extensions of

credit without a license, Continental de facto brokered the loans to itself, deceptively disguising

the loans as legitimate loans.

       ANSWER: Defendants deny the allegations in Paragraph 80.

       81.     Although the Plaintiff’s and Class Members’ loans were purportedly initially issued

by its third-party financial institution partner, Continental exerted control and ownership over



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those loans. Continental carried out all interactions with the Plaintiff and each Class Member,

accepted the ultimate credit risk, collected and pocketed the finance charges and fees, and owned

and controlled the branding of the credit accounts, which were only available through Continental.

Continental was in fact the primary lender, creditor and collector in connection with the loans that

it made to Plaintiff and each Class Member.

       ANSWER: Defendants deny the allegations in Paragraph 81.

       82.     Continental had the predominant economic interest in the loans it provided to

Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 82.

       83.     Continental formed its arrangement to have third-party financial institutions issue

the credit cards it advertises and collects on as part of a specific effort to avoid state lending laws

— including Maryland’s lending laws.

       ANSWER: Defendants deny the allegations in Paragraph 83.

       84.     At all material times, Continental knew or acted with reckless disregard to the fact

that it could not legally extend credit, because, as Continental knows and always knew, the terms

of the credit card loans it markets, underwrites, funds and services are in violation of the laws of

many states — including Maryland’s.

       ANSWER: Defendants deny the allegations in Paragraph 84.

       85.     Indeed, in connection with securitizations collateralized by Continental’s credit

card account receivables, Continental hired a bond rating agency which observed that the securities

are risky because if a court finds that Continental is the “true lender” because of its arrangement

to market and purchase credit card receivables from third-party financial institutions, the credit




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card receivables could be legally unenforceable; but also observed that the short life of the credit

accounts and the quickly revolving nature of the credit accounts mitigated those risks.

        ANSWER: Defendants deny the allegations in Paragraph 85.

        86.     In other words, Continental knows that its loans are illegal, but perceives that it can

get away with its illegally lending scheme because no one is likely to notice when Continental is

extending small-dollar credit card loans to low income, credit-impaired consumers.

        ANSWER: Defendants deny the allegations in Paragraph 86.

                  The Continental Entities Conspired to Conduct Illegal Activity

        87.     Continental’s unlawful conduct described in this Complaint was the result of a

conspiracy involving CFC and CP and other entities owned or operated by CFC, and third-party

financial institutions.

        ANSWER: Defendants deny the allegations in Paragraph 87.

        88.     CFC and CP entered into multiple agreements under which the entities conspired,

agreed, and aided and abetted the illegal conduct of the others.

        ANSWER: Defendants deny the allegations in Paragraph 88.

        89.     In committing the actions causing injuries and damages to Plaintiff and Class

Members, CFC and CP confederated with other persons, including each other, by agreement or

understanding. CFC and CP’s agreements and understandings with each other included agreements

allocating responsibility among CFC and CP and third-party financial institutions for each of the

acts alleged in this Complaint — including but not limited to marketing for loan accounts,

originating loan accounts, issuing credit cards, taking ownership of loan accounts, servicing loan

accounts, and selling loan accounts.

        ANSWER: Defendants deny the allegations in Paragraph 89.



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       90.     In furtherance of this conspiracy, CFC and CP each committed numerous unlawful

acts, and used unlawful and tortious means to accomplish other acts.

       ANSWER: Defendants deny the allegations in Paragraph 90.

       91.     Among other things, and without limitation, CFC marketed for loan accounts which

were represented to Plaintiff and Class Members as accounts with CFC, CFC originated unlawful

loan accounts which were represented to Plaintiff and Class Members to be accounts with CFC,

and third-party financial institutions issued the credit cards on those accounts. CP purchased the

credit card loan account receivables, CFC serviced the unlawful loan accounts it originated, and

collected money for itself and CP from Plaintiff and Class Members. By undertaking these acts

and others, CFC and CP provided substantial assistance, aid and encouragement to each other, and

to the third-party financial institutions issuing the credit cards, in connection with the tortious

actions alleged in this Complaint.

       ANSWER: Defendants deny the allegations in Paragraph 91.

       92.     For CP’s part, among other things and without limitation, CP contracted with CFC

and third-party financial institutions that CFC would market credit card loan accounts to

consumers including Plaintiff and Class Members, that the third-party financial institutions would

nominally issue the credit cards, and CFC, CP and third-party financial institutions agreed that the

third-party financial institutions would continually transfer on an ongoing basis, all of their rights,

title, and interest in the account receivables to CP.

       ANSWER: Defendants deny the allegations in Paragraph 92.

       93.     As a result of the conspiracy, Plaintiff and Class Members sustained the actual legal

damages alleged herein.

       ANSWER: Defendants deny the allegations in Paragraph 93.



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       94.     CFC and CP each had actual knowledge of the wrongful conduct perpetrated by the

others in their dealings with the Plaintiff and Class Members, and of the role each played in

furthering that conduct.

       ANSWER: Defendants deny the allegations in Paragraph 94.

       95.     In its dealings with Plaintiff and Class Members, CP was acting at all times relevant

to the allegations contained in this Complaint as the agent of CFC.

       ANSWER: Defendants deny the allegations in Paragraph 95.

       96.     When perpetrating the acts alleged herein causing injury or damages to Plaintiff

and Class Members, CP and the employees and representatives and agents of CFC committed

those acts within the scope of the employment or agency, and when performing services for which

he or she or it had been engaged, and when acting in furtherance of CFC’s interests.

       ANSWER: Defendants deny the allegations in Paragraph 96.

       97.     As a consequence, Plaintiff and the Class have sustained the losses and damages

described herein.

       ANSWER: Defendants deny the allegations in Paragraph 97.

       98.     Continental, including both CFC and CP, arranged their associations with third-

party financial institutions in furtherance of a conspiracy to perpetrate their unlawful lending and

credit services business scheme and to try to circumvent state consumer lending laws, like

Maryland’s.

       ANSWER: Defendants deny the allegations in Paragraph 98.

        Continental Does Not Have Any License to Conduct Its Business in Maryland

       99.     Continental does not have any license to conduct its credit services and lending

business in Maryland and has never had any license to conduct its credit services and lending

business (or any business) in Maryland.
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        ANSWER: Defendants deny the allegations in Paragraph 99.

        100.    However, Maryland law requires Continental to be licensed by the Commissioner

of Financial Regulation to conduct its credit services and lending business in Maryland. For

example, both the MCSBA and the MCLL require Continental to have licenses that it does not

have and has never had.

        ANSWER: Defendants admit only that the referenced Maryland laws speak for

themselves. Defendants deny any allegations that are inconsistent with or mischaracterize

the laws. Defendants deny the remaining allegations in Paragraph 100.

                Continental Violated the MCSBA in Class Member Transactions

        101.    Continental, including both CFC and CP, is a “credit services business” under the

MCSBA § 14-1901(e)(1)(ii). Continental, with respect to the extension of credit by third-party

financial institutions, sold, provided, performed, or represented that it could or would sell, provide,

or perform, the following services in return for the payment of money or other valuable

consideration: (i) improving a consumer’s credit record, history, or rating or establishing a new

credit file or record, or providing advice or assistance to a consumer with regard to improving the

consumer’s credit record, history, or rating or establishing a new credit file or record; and (ii)

obtaining an extension of credit for a consumer, or providing advice or assistance to a consumer

with regard to obtaining an extension of credit for the consumer. Continental’s advertising about

its credit improvement and assistance services are detailed in this Complaint, as are Continental’s

acts in obtaining extensions of credit for consumers from, or purportedly from, third-party financial

institutions.

        ANSWER: Defendants deny the allegations in Paragraph 101.

        102.    CFC and its wholly-owned subsidiary CP have a joint or common interest,

including a joint interest in the credit card accounts of Plaintiff and Class Members.
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       ANSWER: Defendants deny the allegations in Paragraph 102.

       103.    Continental violated numerous mandates of the MCSBA in its dealings with

Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 103.

       104.    Continental received money or other valuable consideration from Plaintiff and

Class Members when it had not secured a license from the Maryland Commissioner of Financial

Regulation under Title 11, Subtitle 3 of the Financial Institutions Article, in violation of the

MCSBA § 14-1902(1).

       ANSWER: Defendants deny the allegations in Paragraph 104.

       105.    Continental received money and valuable consideration solely for the referral of

Plaintiff and Class Members to a credit grantor when the credit extended to the Plaintiff and Class

Members was substantially on the same terms as those available to the general public, in violation

of MC SBA §14-1902(2).

       ANSWER: Defendants deny the allegations in Paragraph 105.

       106.    Continental never provided to Plaintiff or any Class Member any of the disclosures

required by the MCSBA §14-1906, and never provided Plaintiff or any Class Member the

“NOTICE OF CANCELLATION” required under that section.

       ANSWER: Defendants admit only that the referenced Maryland laws speak for

themselves. Defendants deny any allegations that are inconsistent with or mischaracterize

the laws. Defendants deny the remaining allegations in Paragraph 106.

       107.    Moreover, Continental was not licensed as required by the MCSBA. Accordingly,

it was prohibited from receiving any money or valuable consideration from Plaintiff or any Class

Member under the MCSBA § 14-1902(1).



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       ANSWER:        Defendants admit only that the referenced law speaks for itself.

Defendants deny any allegations that are inconsistent with or mischaracterize the law.

Defendants deny the remaining allegations in Paragraph 107.

       108.    Furthermore, Continental’s purported contracts for services with Plaintiff and each

Class Member did not comply with the MCSBA. Accordingly, the purported contracts were void

and unenforceable under the MCSBA § 14-1907(b), and Continental was never entitled to enforce

any terms of any of those purported contracts or collect any money from Plaintiff or any Class

Member in connection with those purported contracts.

       ANSWER: Defendants deny the allegations in Paragraph 108.

       109.    A credit services business license is subject to the licensing and investigatory

provisions of the Maryland Installment Loans — Licensing Provisions, Md. Code Ann., Fin. Inst.

§§ 11-301 et seq., which require a license before Continental could make any loans to Plaintiff or

Class Members. Continental’s lack of the required license means it never had the right to collect

any money from Plaintiff or Class Members.

       ANSWER:        Defendants admit only that the referenced law speaks for itself.

Defendants deny any allegations that are inconsistent with or mischaracterize the law.

Defendants deny the remaining allegations in Paragraph 109.

       110.    In addition, a credit services business license is subject to the provisions of the

Maryland Consumer Loans — Licensing Provisions, Md. Code Ann., Fin. Inst. §§ 11-201 et seq.

For that reason, as well, Continental was never entitled to collect any money from Plaintiff or Class

Members.

       ANSWER:        Defendants admit only that the referenced law speaks for itself.

Defendants deny any allegations that are inconsistent with or mischaracterize the law. The



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remaining allegations set forth in Paragraph 110 state a legal conclusion to which no

response is required. To the extent a response is required, Defendants deny the remaining

allegations in Paragraph 110.

                 Continental Violated the MCLL in Class Member Transactions

       111.    Each Class Member transaction involved a loan or advance of money or credit of

less than $25,000.00, subject to the MCLL.

       ANSWER: Defendants deny that the Class referenced in Paragraph 111 may be

maintained, or that any transaction is subject to the MCLL.

       112.    Continental made a loan to Plaintiff and each Class Member. Continental did not

perform its services in arranging loans with third-party financial institutions for free; it was amply

compensated for its loan operation. In exchange for Continental’s role in assisting Plaintiff and

Class Members to obtain loans, Continental received, through contracts with the third-party

financial institutions, the exclusive right to collect all payments of principal, interest and fees,

including fees charged for preparing and processing the loans. Indeed, Continental purchased the

right from the third-party financial institutions to enforce the terms of the loans to Plaintiff and

Class Members, and to collect the payments that were to be made by Plaintiff and Class Members

under the terms of the loan, including all interest, penalties, and fees. Indeed, if Plaintiff or Class

Members mistakenly sent a loan payment to the third-party financial institution, rather than to

Continental, the third-party financial institution was, pursuant to its contract with Continental,

obligated to forward that payment to Continental.

       ANSWER: Defendants deny the allegations in Paragraph 112.

       113.    The third-party financial institutions never received any payments from Plaintiff or

Class Members, Continental did. Continental’s raison d’etre was to profit by purportedly

providing advice and assistance to consumers in obtaining loans from the third-party financial
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institutions it had partnered with so that it would receive, in reciprocation, the legal right to receive

payments from consumers like Plaintiff and Class Members. Plaintiff and Class Members made

direct payments on their loan accounts to Continental. Continental deducted amounts from Plaintiff

and Class Members’ loans as “fees” which were to pay for the preparation and processing of their

loans.

         ANSWER: Defendants deny the allegations in Paragraph 113.

         114.   Plaintiff and Class Members made numerous payments to Continental, including

interest, costs, fees and other charges. Continental received and retained Plaintiff and Class

Members’ payments.

         ANSWER: Defendants admit that Plaintiff made payments to the issuing bank, and

that CFC received payments from Plaintiff on behalf of the issuing bank. Defendants deny

the remaining allegations in Paragraph 114.

         115.   Continental is in the business of making loans of less than $25,000.00. In fact, all

of its loans to Plaintiff and Class Members are for less than $6,000.00. Continental makes

numerous such loans to Marylanders each year.

         ANSWER: Defendants deny the allegations in Paragraph 115.

         116.   Continental does not have a license under the MCLL, as required under MCLL §

12-302.

         ANSWER: Defendants deny that Defendants are required to have a license under the

MCLL. Defendants admit the remaining allegations in Paragraph 116.

         117.   None of the loans of Plaintiff or Class Members contain a written election to be

governed by Subtitle 1, Subtitle 4, Subtitle 9, or Subtitle 10 of the Maryland Commercial Law

Article.



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        ANSWER:        Defendants admit only that the referenced agreements speak for

themselves. Defendants deny all allegations that are inconsistent with or mischaracterize the

agreement.

        118.    Continental was not permitted to make its loans to Plaintiff or Class Members

because it is not, and never has been, licensed under or exempt from the licensing requirements

under the MCLL.

        ANSWER: Defendants deny the allegations in Paragraph 118.

        119.    Continental’s loans to Plaintiff and each Class Member are void and unenforceable

because Continental made the loans without a license under the MCLL, when Continental is not

exempt from the licensing requirements of the MCLL.

        ANSWER: Defendants deny the allegations in Paragraph 119.

        120.    Continental has unlawfully received and retained, and continues to receive and

retain, principal, interest, fees, and other compensation with respect to its loans to Plaintiff and

Class Members, which are void and unenforceable under the MCLL.

        ANSWER: Defendants deny the allegations in Paragraph 120.

        121.    Continental is not, and has never been, licensed as required by Maryland law, the

statutes requiring Continental to be licensed are regulatory in nature for the protection of the public,

rather than merely to raise revenue, and Continental’s actions described in this Complaint violate

the fundamental public policy of Maryland.

        ANSWER: Defendants deny the allegations in Paragraph 121.

        122.    Continental never had any right to collect money from Plaintiff or Class Members,

as a result of Continental’s illegal, unlicensed activity.

        ANSWER: Defendants deny the allegations in Paragraph 123.



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                                       Plaintiff’s Experiences

       123.    Plaintiff, Ms. Johnson, received a credit card loan from Continental in the amount

of less than $6,000.00, for consumer, family and household purposes, when Continental did not

have a license to make such a loan under Maryland law and when Continental was not exempt

from the licensing requirements of Maryland law.

       ANSWER: Defendants deny the allegations set forth in Paragraph 123.

       124.    Ms. Johnson obtained the credit card loan from Continental in Maryland in response

to Continental’s marketing efforts. Continental took Ms. Johnson’s loan application, underwrote

it, decided to extend credit to her, and arranged for a credit card to be sent to her.

       ANSWER: Defendants deny the allegations in Paragraph 124.

       125.    Ms. Johnson accepted and used the credit card in Maryland, and made payments on

the credit card in Maryland.

       ANSWER: Defendants admit only that Plaintiff used, accepted, and made payments

on the credit card. Defendants lack sufficient knowledge or information to form a belief as

to the truth of the remaining allegations set forth in Paragraph 125 and therefore deny those

allegations.

       126.    Ms. Johnson’s credit card was issued by one of Continental’s third-party financial

institution partners, but Continental — under a pre-existing agreement — promptly purchased and

obtained the right to extend and collect all amounts under Ms. Johnson’s account.

       ANSWER: Defendants admit only that Defendant CP purchased the receivables

related to the subject credit card account from the issuing bank. Defendants deny the

remaining allegations in Paragraph 126.

       127.    Continental deducted amounts from Ms. Johnson’s loan as “fees” which were to

pay for the preparation and processing of her loan.
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       ANSWER: Defendants deny the allegations in Paragraph 127.

       128.    Continental’s form adhesion documents for Ms. Johnson’s loan also included

provisions giving Continental the right to unilaterally change any of its agreements with her, at

any time, without advance notice or an opportunity for her to reject any changes.

       ANSWER: Defendants deny the allegations in Paragraph 128.

       129.    Ms. Johnson made numerous payments to Continental, including interest, costs,

fees and other charges. Continental received and retained her payments. Ms. Johnson never made

any payment on the account to the third-party financial institution that issued the loan.

       ANSWER: Defendants admit only that Defendant CFC received Plaintiff’s payments

as it serviced the Plaintiff’s credit card account on behalf of, and with the approval of, the

issuing bank. Defendants lack sufficient knowledge or information to form a belief as to the

truth of the remaining allegations set forth in Paragraph 129 and therefore deny those

allegations.

                                     Class Action Allegations

       130.    The Class, as defined above, is identifiable. The Plaintiff is a member of the

Class. The Class is so numerous that joinder of all members is impracticable.

       ANSWER: Defendants deny that the Class referenced in Paragraph 131 may be

certified.

       131.    There are questions of law and fact which are not only common to the members of

the Class but which predominate over any questions affecting only individual Class members. The

common and predominating questions include, but are not limited to:

                    A.     Whether Continental acted as a credit services business under the

                           MCSBA in Class Members’ transactions;



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                  B.       Whether Continental failed to make any of the disclosures required by

                           the MCSBA § 14-1906;

                  C.       Whether Continental was required to be licensed with the Maryland

                           Commissioner of Financial Regulation before engaging in transactions

                           with Plaintiff and Class Members;

                  D.       Whether Continental’s transactions with each Class Member are

                           contrary to the public policy of Maryland;

                  E.       Whether the statutes requiring Continental to be licensed are

                           regulatory in nature for the protection of the public, rather than merely

                           to raise revenue, and enforcing Class Members’ Continental loan

                           accounts is against public policy;

                   F.      Whether Continental ever had any right to receive or retain any

                           payments on Class Members’ loans;

                    G. Whether each Class Member is entitled to a declaration under the

                           Maryland Declaratory Judgment Act, Md. Code Ann., Cts. & Jud. Pro.

                           §§ 3-401 et seq. and/or the federal Declaratory Judgment Act, 28

                           U.S.C. §§ 2201-02, that their loan account is void and unenforceable;

                    H. Whether each Class Member is entitled to recover all payments made

                           to Continental under the MCLL; and

                        I. Whether Plaintiff and each Class Member are entitled to recover the

                           damages and amounts prescribed by the MCSBA.

      ANSWER: Defendants deny that the Class referenced in Paragraph 131 may be

certified. Defendants deny the remaining allegations in Paragraph 131.



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       132.    Plaintiff’s claims are typical of the claims of the respective members of the Class

within the meaning of Md. Rule 2-231(b)(3) and are based on and arise out of similar facts

constituting the wrongful conduct of Defendants.

       ANSWER: Defendants deny that the Class referenced in Paragraph 132 may be

certified. Defendants deny the remaining allegations in Paragraph 132.

       133.    Plaintiff will fairly and adequately protect the interests of the Class within the

meaning of Md. Rule 2-231(b)(4). Plaintiff is committed to vigorously litigating this matter.

Further, Plaintiff has secured counsel experienced in handling consumer class actions and complex

consumer litigation.

       ANSWER: Defendants deny that the Class referenced in Paragraph 133 may be

certified. Defendants deny the remaining allegations in Paragraph 133.

       134.    Neither Plaintiff nor Plaintiff’s counsel has any interests which might cause them

not to vigorously pursue this claim.

       ANSWER: Defendants lack sufficient knowledge or information to form a belief as

to the truth of the allegations set forth in Paragraph 134 and therefore deny those allegations.

       135.    The prosecution of separate actions by individual members of the Class would

create a risk of establishing incompatible standards of conduct for Defendants within the meaning

of Md. Rule 2-231(c)(1)(A).

       ANSWER: Defendants deny that the Class referenced in Paragraph 135 may be

certified. Defendants deny the remaining allegations in Paragraph 135.

       136.    Defendants’ actions are generally applicable to the respective Class as a whole, and

Plaintiff seeks equitable remedies with respect to the Class within the meaning of Md. Rule 2-

231(c)(2).



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        ANSWER: Defendants deny that the Class referenced in Paragraph 136 may be

certified. Defendants deny the remaining allegations in Paragraph 136.

        137.    Common questions of law and fact enumerated above predominate over questions

affecting only individual members of the Class and a class action is the superior method for fair

and efficient adjudication of the controversy within the meaning of Md. Rule 2-231(c)(3).

        ANSWER: Defendants deny that the Class referenced in Paragraph 137 may be

certified. Defendants deny the remaining allegations in Paragraph 137.

        138.    The likelihood that individual members of the Class will prosecute separate actions

is remote due to the time and expense necessary to conduct such litigation.

        ANSWER: Defendants deny that the Class referenced in Paragraph 138 may be

certified. Defendants deny the remaining allegations in Paragraph 138.

        139.    Plaintiff’s counsel are experienced in class actions, and foresee little difficulty in

the management of this case as a class action.

        ANSWER: Defendants deny that the Class referenced in Paragraph 139 may be

certified. Defendants lack sufficient knowledge or information to form a belief as to the truth

of the remaining allegations set forth in Paragraph 139 and therefore deny those allegations.

                                         Causes of Action

               COUNT I.      Declaratory Relief under Md. Cts. & Jud. Pro. § 3-406

        140.    Plaintiff re-alleges and incorporates by reference the allegations set forth above as

if fully set forth herein.

        ANSWER: Defendants incorporate their answers to the foregoing paragraphs as if

set forth herein in their entirety.

        141.    This claim for declaratory relief is brought under the Maryland Declaratory

Judgment Act, Md. Code Ann., Cts. & Jud. Pro. § 3-406, to settle and obtain relief from uncertainty

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and insecurity with respect to the rights, status and legal relations of the Plaintiff and Class

Members with Defendants, under the consumer protections embodied in Maryland law.

       ANSWER: Defendants deny the allegations in Paragraph 141.

       142.      Defendants maintain that they were not required to have a license from the

Maryland Commissioner of Financial Regulation to engage in their transactions with Plaintiff and

Class Members.

       ANSWER: Defendants admit only that Defendants are not required to be licensed

under MCLL § 12-302. Defendants deny that the Class referenced in Paragraph 142 may be

certified. Defendants deny the remaining allegations set forth in Paragraph 142.

       143.      Plaintiff maintains that Defendants were required to have a license from the

Maryland Commissioner of Financial Regulation to engage in the transactions with Plaintiff and

Class Members.

       ANSWER: Defendants deny that the Class referenced in Paragraph 143 may be

certified.     Defendants lack sufficient knowledge or information to form a belief as to the

truth of the remaining allegations set forth in Paragraph 143 and therefore deny those

allegations.

       144.      Defendants maintain that they did not violate the MCSBA or the MCLL in the

transactions of Plaintiff and Class Members.

       ANSWER: Defendants deny that the Class referenced in Paragraph 144 may be

certified. Defendants admit the remaining allegations set forth in Paragraph 144.

       145.      Plaintiff maintains that Defendants violated the MCSBA and the MCLL in their

transactions and the transactions of Plaintiff and Class Members.




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       ANSWER: Defendants deny that the Class referenced in Paragraph 145 may be

certified. Defendants lack sufficient knowledge or information to form a belief as to the truth

of the remaining allegations set forth in Paragraph 145 and therefore deny those allegations.

       146.    Plaintiff maintains that any purported contract between her and Continental, and

between any Class Member and Continental, is void ab initio and unenforceable as contrary to the

public policy of Maryland, under the MCSBA.

       ANSWER: Defendants deny that the Class referenced in Paragraph 146 may be

certified. Defendants lack sufficient knowledge or information to form a belief as to the truth

of the remaining allegations set forth in Paragraph 146 and therefore deny those allegations.

       147.    Defendants maintain that purported contracts between Plaintiff and Continental,

and between other Class Members and Continental, are not void ab initio and unenforceable as

contrary to the public policy of Maryland under the MCSBA.

       ANSWER: Defendants deny that the Class referenced in Paragraph 147 may be

certified. Defendants admit the remaining allegations in Paragraph 147.

       148.    Defendants maintain that they and their assignees may assess and collect charges

from Plaintiff and Class Members.

       ANSWER: Defendants admit only that Defendant CFC may collect charges from

Plaintiff on behalf of the issuing bank, but only the issuing bank may assess such charges

pursuant to the credit account agreement. Defendants deny the remaining allegations in

Paragraph 148.

       149.    Plaintiff maintains that Defendants do not have, and never had, the right to assess

or collect charges from her, or from Class Members, and that the Defendants never had the right

to assign any such rights to anyone else, due to the facts alleged in this Complaint.



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       ANSWER: Defendants deny that Defendants do not have the right to collect charges

from Plaintiff. Defendants lack sufficient knowledge or information to form a belief as to

the truth of the remaining allegations set forth in Paragraph 149 and therefore deny those

allegations.

       150.    Plaintiff and Class Members have received or will receive collection notices from

Defendants or their assignees demanding payment of the alleged amounts due and have been sued

or will be sued for collection of the sums which Defendants or their assignees claim are due.

Moreover, Defendants notify credit reporting agencies of the alleged balances due, thereby

damaging the credit scores and history of Plaintiff and Class Members.

       ANSWER: Defendants admit that Defendant CFC has, in the course of servicing the

credit card account on behalf of, and under the oversight of, the issuing bank, may send

notices to Plaintiff and notify credit reporting agencies of the alleged balances due.

Defendants lack sufficient knowledge or information to form a belief as to the truth of the

remaining allegations set forth in Paragraph 150 and therefore deny those allegations.

       151.    These practices continue and will continue unless and until this Court declares and

affirms that Defendants do not have, and never had, the right to receive or retain money from

Plaintiff and Class Members on their loan accounts.

       ANSWER: Defendants deny that there is any wrongdoing associated with their

practices. Defendants lack sufficient knowledge or information to form a belief as to the truth

of the remaining allegations set forth in Paragraph 151 and therefore deny those allegations.

       152.    This presents an actual, justiciable controversy between the parties relating to the

construction of the purported contracts of Plaintiff and Class Members and the application of the

law to those purported contracts. Defendants have sought and will continue to seek to collect



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amounts from Plaintiff and Class Members when they are not legally entitled to do so. Defendants

continue to harm Plaintiff and Class Members by doing so.

       ANSWER: Defendants deny the allegations in Paragraph 152.

       153.    Plaintiff and Class Members have a right to be free from the attempts of Defendants

to collect amounts from them to which Defendants have no right.

       ANSWER: Defendants deny the allegations in Paragraph 153.

                 COUNT II.       Violation of the MCLL Licensing Provisions

       154.    Plaintiff re-alleges and incorporates by reference the allegations set forth above.

       ANSWER: Defendants incorporate their answers to the foregoing paragraphs as if

set forth herein in their entirety.

       155.    Each of the loans to Plaintiff and Class Members which are the subject of this

Complaint were for less than $25,000, are extensions of credit or loans subject to the MCLL and

are “loans” under the MCLL.

       ANSWER: Defendants admit only that the referenced statute speaks for itself.

Defendants deny any allegations that are inconsistent with or mischaracterize the statute.

Defendants deny the remaining allegations in Paragraph 155.

       156.    Continental, including CFC and CP, made the loans to Plaintiff and Class Members

which are the subject of this Complaint, and thus is a “lender” under the MCLL.

       ANSWER: Defendants deny the allegations in Paragraph 156.

       157.    None of the loans to Plaintiff or Class Members elect to be governed by Subtitle 1,

Subtitle 4, Subtitle 9, or Subtitle 10 of Title 12 of the Maryland Commercial Law Article.

       ANSWER: Defendants admit only that the referenced statutes speak for themselves.

Defendants deny any allegations that are inconsistent with or mischaracterize the statutes.



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        158.    Continental made loans to Plaintiff and Class Members of less than $25,000 when

Continental was required to be licensed under MCLL § 12-302, but Continental was not and never

has been licensed under or exempt from the licensing requirements of the MCLL.

        ANSWER: Defendants admit only that the referenced statutes speak for themselves.

Defendants deny any allegations that are inconsistent with or mischaracterize the statutes.

Defendants deny the remaining allegations in Paragraph 158.

        159.    The loans to Plaintiff and Class Members are and always were void and

unenforceable under the MCLL.

        ANSWER: Defendants deny the allegations in Paragraph 159.

        160.    Continental was never entitled to receive or retain any principal, interest, fees, or

other compensation with respect to any loan to Plaintiff or Class Members, under MCLL § 12-314.

        ANSWER: Defendants deny the allegations in Paragraph 160.

        161.    In violation of the MCLL, Continental, with respect to the Plaintiff’s and Class

Members’ loans that are and always were void and unenforceable, collected and attempted to

collect, directly or indirectly, amounts from Plaintiffs and Class Members, and sold, assigned, or

otherwise transferred loans of Plaintiff and Class Members to other persons.

        ANSWER: Defendants deny the allegations in Paragraph 161.

                             COUNT III. Violation of the MCSBA

        162.    Plaintiff re-alleges and incorporates by reference the allegations set forth above as

if fully set forth herein.

        ANSWER: Defendants incorporate their answers to the foregoing paragraphs as if

set forth herein in their entirety.




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       163.    Continental is a “credit services businesses” as defined in the MCSBA § 14-

1901(e)(1). Among other things, at all times relevant to this Complaint, and as described in this

Complaint, Continental, with respect to the extension of credit by others, sold, provided, or

performed, or represented that it could or would sell, provide, or perform, services in return for the

payment of money or other valuable consideration, including improving Plaintiff’s and Class

Members’ credit records, histories, or ratings, and providing advice or assistance to a consumer

with regard to improving Plaintiff’s and Class Members’ credit records, histories, or ratings or

establishing a new credit files or record, and obtaining an extension of credit for Plaintiff and Class

Members, and providing advice or assistance to Plaintiff and Class Members with regard to

obtaining an extension of credit for the Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 163.

       164.    In particular, as alleged above, Continental advertised its credit cards as tools to

improve Plaintiff’s and Class Members’ credit ratings and used its rent-a-bank scheme to obtain

extensions of credit for Plaintiff and Class Members, all in exchange for the payment of the fees

and other amounts Continental collected from Plaintiff and Class Members.

       ANSWER: Defendants admit only that their advertisements speak for themselves.

Defendants deny any allegations that are inconsistent with or mischaracterize the

advertisements. Defendants deny the allegations in Paragraph 164.

       165.    Continental is not exempt from the MCSBA and does not qualify as any of the

entities exempt from the MCSBA under MCSBA § 14-1901(e)(3). At no time relevant to the

actions alleged in this Complaint was Continental licensed by the Commissioner of Financial

Regulation under Title 11, Subtitle 3 of the Financial Institutions Article of the Maryland

Annotated Code. Nevertheless, Continental received money and other valuable consideration from



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the consumer Plaintiff and Class Members, in violation of Md. Code Ann., Com. Law § 14-

1902(1).

       ANSWER: Defendants deny that the Class referenced in Paragraph 165 may be

certified. Defendants deny the remaining allegations in Paragraph 165.

       166.    Furthermore, Continental received money and valuable consideration solely for the

referral of Plaintiff and Class Members to a credit grantor when the credit extended to the Plaintiff

and Class Members was substantially on the same terms as those available to the general public,

in violation of MCSBA §14-1902(2).

       ANSWER: Defendants deny that the Class referenced in Paragraph 166 may be

certified. Defendants deny the remaining allegations in Paragraph 166.

       167.    Furthermore, Continental charged and received money or other valuable

consideration in connection with extensions of credit to Plaintiff and Class Members that, when

combined with the interest charged on the extensions of credit, exceeded the interest rate permitted

for the extension of credit under the Maryland Financial Institutions Article, in violation of

MCSBA § 14-1902(7). For example, the rates of interest set forth in Continental’s documents filed

in ECF # 13-2 for Plaintiff and Class Members exceed the interest rate permitted for the extension

of credit under the Maryland Financial Institutions Article. In addition to those excessive interest

rates, Continental also charged and received from Plaintiff and Class Members annual fees,

monthly maintenance fees and other fees. When those charges are combined with the interest

charged on the Plaintiff’s and Class Members’ extensions of credit, they exceeded the interest rate

permitted for the extension of credit under the applicable title of the Maryland Commercial Law

Article.




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       ANSWER: Defendants deny that the Class referenced in Paragraph 167 may be

certified. Defendants deny the remaining allegations in Paragraph 167.

       168.    Furthermore, Continental assisted the consumer Plaintiff and Class Members to

obtain an extension of credit at a rate of interest which, except for federal preemption of State law,

would be prohibited under Title 12 of the Maryland Commercial Law Article, in violation of

MCSBA § 14-1902(9). For example, the rates of interest set forth in Continental’s documents filed

in ECF # 13-2 for Plaintiff and Class Members exceed the interest rate permitted for the extension

of credit under the Maryland Financial Institutions Article.

       ANSWER: Defendants deny that the Class referenced in Paragraph 168 may be

certified. Defendants deny the remaining allegations in Paragraph 168.

       169.    Despite the fact that Continental acted as a credit services business in the

transactions of Plaintiff and Class Members, Continental has never had a license under the

MCSBA, in violation of MCSBA § 14-1903(b).

       ANSWER: Defendants deny that the Class referenced in Paragraph 169 may be

certified. Defendants deny the remaining allegations in Paragraph 169.

       170.    In violation of MCSBA § 14-1903.1, Continental advertised the services of

improving a consumer's credit record, history, or rating or establishing a new credit file or record,

or providing advice or assistance to a consumer with regard to improving the consumer's credit

record, history, or rating or establishing a new credit file or record; or obtaining an extension of

credit for a consumer, or providing advice or assistance to a consumer with regard to obtaining an

extension of credit for the consumer, but did not conspicuously state in each such advertisement

the license issued under MCSBA § 14-1903 or any exemption provided by the Commissioner of

Financial Regulation.



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       ANSWER: Defendants deny the allegations in Paragraph 170.

       171.   Continental never provided to Class Representatives or any Class Member any of

the disclosures required by the MCSBA §14-1906, and never provided Class Representatives or

any Class Member the “NOTICE OF CANCELLATION” required under that section. For

example, Continental never provided Plaintiff or Class Members a statement of their right to file

a complaint under MCSBA § 14-1911. Continental never provided Plaintiff or Class Members the

address of the Commissioner where a consumer can file a complaint under MCSBA § 14-1911.

Continental never provided Plaintiff or Class Members a statement that a bond exists and the

consumer’s right to proceed against the bond under the circumstances and in the manner set forth

under MCSBA § 14-1910.

       ANSWER: Defendants deny that the Class referenced in Paragraph 171 may be

certified. Defendants deny the remaining allegations in Paragraph 171.

       172.   Continental attempted to have Plaintiff and Class Members waive rights given by

the MCSBA by providing documents to them which purported to elect out-of-state law for their

transactions, in violation of MCSBA § 14-1907.

       ANSWER: Defendants deny that the Class referenced in Paragraph 172 may be

certified. Defendants deny the remaining allegations in Paragraph 172.

       173.   Continental failed to obtain a surety bond, in violation of MCSBA § 14-1908.

       ANSWER: Defendants deny the allegations in Paragraph 173.

       174.   Continental willfully violated the MCSBA and knew its conduct toward Plaintiff

and Class Members violated the MCSBA or showed reckless disregard as to whether its conduct

was prohibited by the statute. Among other things, the MCSBA prohibits exactly the conduct

which Continental perpetrated in its transactions with Plaintiff and Class Members, and



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Continental was aware at the time of its transactions with Plaintiff and Class Members that if

Maryland law was applied to those transactions, they would be unlawful under the MCSBA.

       ANSWER: Defendants deny the allegations in Paragraph 174.

       175.   Continental’s actions in violation of the MCSBA caused actual damages to Plaintiff

and each Class Member, including damages in the amount of prohibited charges and sums which

Continental was not legally permitted to assess, collect, or retain, but which Continental

nevertheless did assess, collect, and retain from Plaintiff and Class Members. Those prohibited

charges include all amounts collected by Continental from Plaintiff and Class Members.

       ANSWER: Defendants deny the allegations in Paragraph 175.

       WHEREFORE, Plaintiff demands declaratory judgment and judgment in an aggregated

amount for the Class as a whole in excess of $75,000.00, as follows:

              A.      A declaratory judgment establishing that Continental was required to be

                      licensed by the Commissioner of Financial Regulation to undertake the

                      actions alleged in this Complaint;

              B.      A declaratory judgment establishing that Continental never had any right to

                      collect any money from Plaintiff or Class Members, and that Plaintiff and

                      Class Members’ loans and agreements with Defendants are, and always

                      were, void and unenforceable;

              C.      A declaratory judgment establishing that Defendants never had any right to

                      collect any money from Plaintiff or Class Members;

              D.      Payment to Plaintiff and Class Members of the statutory damages imposed

                      under MCSBA § 14-1912, including punitive damages;




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               E.       Pre-judgment and post-judgment interest at the legal rate on all sums

                        awarded to Plaintiff and Class Members; and,

               F.       Such other and further relief as the nature of this case may require.

       ANSWER: Defendants deny that Plaintiffs are entitled to any relief. Defendants deny

that the Class referenced in Paragraph 175 may be certified. Defendants deny the remaining

allegations in Paragraph 175.

                                  AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

       The Complaint as a whole, and each and every purported cause of action alleged therein,

is barred by the doctrine of waiver.

                             SECOND AFFIRMATIVE DEFENSE

       The Complaint, and each and every purported cause of action contained therein, fails to

state facts sufficient to constitute a cause of action against Defendants.

                               THIRD AFFIRMATIVE DEFENSE

       The Complaint as a whole, and each and every purported cause of action alleged therein,

is barred by the doctrine of estoppel.

                             FOURTH AFFIRMATIVE DEFENSE
       The Complaint as a whole, and each and every purported cause of action alleged therein,

is barred because Plaintiff has selected an improper forum and must submit her claims to

arbitration as provided in Plaintiff’s cardholder agreement.

                               FIFTH AFFIRMATIVE DEFENSE

       The Complaint as a whole, and each and every purported cause of action alleged therein,

is barred because Plaintiff attempts to bring a class action suit which is barred by the Plaintiff’s

cardholder agreement.

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                              SIXTH AFFIRMATIVE DEFENSE

       The Complaint as a whole, and each and every purported cause of action alleged therein,

is barred because at all times relevant hereto, Defendants conducted themselves in conformity with

all applicable laws and regulations.

                            SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails, in whole or in part, because Plaintiff has suffered no actual

damages as a result of Defendants’ alleged violations.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff lacks Article III standing. Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016).

                              NINTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails, in whole or in part, because Defendants have breached no duty

of law owed to Plaintiff.

                              TENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails, in whole or in part, because Defendants have at all times

followed reasonable procedures to assure maximum possible accuracy of its servicing of Plaintiff’s

account.

                            ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails, in whole or in part, because Defendants never arranged loans

or extended credit to consumer and accordingly, are not subject to the licensing requirement that

Plaintiff bases the entirety of the Complaint on.

                            TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails, in whole or in part, because Plaintiff is not entitled to injunctive

relief or a declaratory judgment against Defendants.



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                        THIRTEENTH AFFIRMATIVE DEFENSE

       Defendants reserve the right to assert additional affirmative defenses, or to amend its

present defenses, as further information becomes available.



 Dated: September 21, 2023                   Respectfully submitted,


                                             /s/ Melissa O. Martinez____________________
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                                             and Continental Purchasing LLC




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 21, 2023, the foregoing copy of Continental

Finance Company, LLC and Continental Purchasing, LLC’s Answer and Affirmative Defenses to

Plaintiff’s First Amended Class Action Complaint was electronically filed via the Court’s

CM/ECF system and served on all counsel of record.



                                              /s/ Melissa O. Martinez
                                              Melissa O. Martinez




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